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IN THE UNITED STATES DISTRICT COURT Gea yg
FOR THE SOUTHERN DISTRICT OF ILLINOIS — souTHERN DISTRICT OF tapes
EAST ST. LOUIS OFFICE

UNITED STATES OF AMERICA, )
)
Plaintiff, ) CRIMINAL NO. \3 -3202H-M_) Z
)
VS. ) Title 18, United States Code,
) Sections 922(g)(1), 922(g)(3), 922(j),
) 922(x)(1), 924(a)(2), 924(a)(6)(B)(i); and
SCOTT T. HYDEN, a/k/a “TRAVIS,” )
) Title 21, United States Code, Section 844(a)
Defendant. )
)
)
INDICTMENT
THE GRAND JURY CHARGES:
COUNT 1

POSSESSION OF STOLEN FIREARM
In or about July, 2013, in St. Clair County, within the Southern District of Illinois,
SCOTT T. HYDEN, a/k/a “TRAVIS,”
Defendant herein, did knowingly possess a stolen firearm — namely, a Hi-Pointe, 9 mm semi-
automatic firearm, serial number P1747798 — which had been shipped and transported in
interstate commerce, knowing that the firearm was stolen; all in violation of Title 18, United
States Code, Sections 922(j) and 924(a)(2).

COUNT 2
POSSESSION OF A FIREARM BY FELON

In or about July, 2013, in St. Clair and Madison Counties, within the Southern District of
Illinois,

SCOTT T. HYDEN, a/k/a “TRAVIS,”
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Defendant herein, having been previously convicted of a felony — namely, Criminal Damage to
Property, in violation of Illinois Compiled Statutes, Chapter 720, Section 5/21-1(1)(a), in
Madison County, Illinois, Case No. 10-CF-1762, on or about March 8, 2011 — did knowingly
possess, in and affecting commerce, a firearm — namely, a Hi-Pointe, 9 mm semi-automatic
firearm, serial number P1747798; all in violation of Title 18, United States Code, Sections
922(g)(1) and 924(a)(2).

COUNT 3
POSSESSION OF FIREARM BY USER OF CONTROLLED SUBSTANCE

In or about July, 2013, in St. Clair County, within the Southern District of Illinois,
SCOTT T. HYDEN, a/k/a “TRAVIS,”
Defendant herein, then being an unlawful user of a controlled substance as defined in Title 21,
United States Code, Section 802 - namely, heroin - did knowingly possess, in and affecting
commerce, a firearm - namely, a Hi-Pointe, 9 mm semi-automatic firearm, serial number
P1747798; all in violation of Title 18, United States Code, Sections 922(g)(3) and 924(a)(2).

COUNT 4
POSSESSION OF HEROIN

In or about July, 2013, in St. Clair County, within the Southern District of Illinois,
SCOTT T. HYDEN, a/k/a “TRAVIS,”
Defendant herein, did knowingly possess a mixture and substance containing heroin, a Schedule
I controlled substance; all in violation of Title 21, United States Code, Section 844(a).
COUNT 5
SALE, DELIVERY, TRANSFER OF HANDGUN TO JUVENILE
In or about July, 2013, in Madison County, within the Southern District of Illinois,

SCOTT T. HYDEN, a/k/a “TRAVIS,”
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Defendant herein, did knowingly sell, deliver, and transfer a handgun — namely, a Hi-Pointe, 9
mm semi-automatic firearm, serial number P1747798 — to a person that he knew and had
reasonable cause to believe was a juvenile; all in violation of Title 18, United States Code,

Sections 922(x)(1)(A) and 924(a)(6)(B)(i).

A TRUE BILL

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STEPHEN B. CLARK
Assistant United States Attorney

 

. WIGGINTO
United States Attorney

Recommended Bond: Detention
